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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

URSULA MONROE, et al.,

              Plaintiffs,

vs.                                              CASE NO.: 1:05cv35-SPM/AK

HILTON HOTELS CORP., et al.,

           Defendants.
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 ORDER DENYING MOTION TO CONDUCT EARLY DISCOVERY AS MOOT

        Pending before the Court is Defendants’ Motion to Serve Damages

Discovery Prior to the Rule 26 Conference and To Shorten the Time for

Responding to Discovery (doc. 4). The parties have since had their Rule 26

conference and submitted a discovery proposal to the court (doc. 9). A

Mediation and Scheduling Order will be issued shortly after consideration of the

parties’ discovery proposal. In the meantime, the Initial Scheduling Order (doc.

8) will control. Based on the foregoing, it is

        ORDERED AND ADJUDGED that Defendants’ motion (doc. 4) is denied

as moot.

        DONE AND ORDERED this 10th day of May, 2005.


                                      s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    United States District Judge
